Case 2:11-cv-15165-GCS-RSW ECF No. 2 filed 11/22/11                  PageID.10    Page 1 of 1

                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                               __________________________

EFREM WALKER,

                Plaintiff,
v.                                                         Case No. 1:11-CV-819

R.A.X.I. DEVELOPMENT CORPORATION,                          HON. GORDON J. QUIST

            Defendant.
_____________________________________/


                             ORDER TRANSFERRING VENUE

       Plaintiff having failed to respond to the Court’s October 20, 2011, Order To Show Cause

(Dkt. No. 8),

       IT IS HEREBY ORDERED that this action is transferred to the United States District

Court for the Eastern District of Michigan pursuant to 28 U.S.C. § 1406(a).




Dated: November 21, 2011                                  /s/ Gordon J. Quist
                                                         GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE
